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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
v.                                         ) Criminal Case No: 1:21-MJ-00035-1
                                           )
JENNY LOUISE CUDD,                         )
                                           )
                       Defendant.          )
__________________________________________)


           MOTION TO RESCIND REQUEST TO PRACTICE PRO HAC VICE
               AND LOCAL COUNSEL’S MOTION TO WITHDRAW

       On January 25, 2021, undersigned counsel requested to practice pro hac vice on behalf of

defendant Jenny Cudd, and the defense asked for Farheena Siddiqui to serve as local counsel.

Undersigned counsel’s filing status in this court has since been resolved and the defense is no

longer in need of pro hac vice status or local counsel assistance. Undersigned counsel, therefore,

requests to rescind the special request to practice pro hac vice, and local counsel requests to be

relieved of local counsel duties and to withdraw her appearance. The defendant has been notified

and agrees to both requests.


                                              Respectfully submitted:

                                              /s/

                                              Marina Medvin, DC Bar #995966
                                              Attorney for Defendant
                                              MEDVIN LAW PLC
                                              916 Prince Street
                                              Alexandria, Virginia 22314
                                              Tel: 888.886.4127
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       I ask to be relieved as local counsel and for my appearance to be withdrawn:

                                               /s/

                                               Farheena Siddiqui, DC Bar #888325080
                                               Law Office Samuel C. Moore, PLLC
                                               526 King St., Suite 506
                                               Alexandria, VA 22314
                                               Email: fsiddiqui@scmoorelaw.com
                                               Phone: 703-535-7809



                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 2, 2021, I will electronically file the foregoing pleading
with the Clerk of the Court using the CM/ECF system, which will then send a notification of
such filing (NEF) to counsel of record:

       David B. Kent at david.kent@usdoj.gov

       Michelle M. Peterson at shelli_peterson@fd.org




                                               /s/

                                               Marina Medvin, Esq.
                                               Farheena Siddiqui, Esq.
